                        Case 2:13-cv-03772-DMG-MRW Document 91 Filed 02/14/17 Page 1 of 41 Page ID #:509



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                            5   szimmitti@nelsonhardiman.com
                            6   Attorneys for Defendants
                            7
                            8                        UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
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                           IO   UNITED STATES OF AMERICA,              CASE NO.: 2:13-cv-3772-DMG (MRWx)
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        O>                      and STATE OF CALIFORINA1 ex
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        I- ..              11   rel BOBBETTE A. SMITH ana              (Assigned to Judge Dolly M. Gee)
Q..     ;       ~               SUSAN C. ROGERS,
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                           12                                          DEFENDANTS' NOTICE OF
z ~::                                              Plaintiffs,         CONSOLIDATED MOTION AND
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        w 0                13                                          MOTION TO DISMISS RELATORS'
0 ~~                                  V.                               SECOND AMENDED COMPLAINT
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                0          14                                          PURSUANT TO FEDERAL RULES OF
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                                TOMS. CHANG.z.J\'1.D., TOMS.           PROCEDURE 12(B)(6) AND 9(B);
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                           15   CHANG+ M.D., I1"C-;.. MICHAEL A.       MEMORANDUM OIF POINTS AND
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                                SAMUEL, M.D., MIL,HAEL J.              AUTHORITIES
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                          16    DAVIS M.D. RETINA
                                INSTITUTE OF CALIFORNIA
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                                                                       Date: March 17, 201 7
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                           17   MEDICAL GROUP,2. CALIFORNIA            Time: 9:30 a.m .
        --                      EYE AND EAR SPtCIALISTS,               Place: Courtroom 8C, 8th Floor
                           18   BRETT BRAUN and
                                SAN GABRIEL AMBULATORY
                           19   SURGERY CENTER LP,

                          20                       Defendants.

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                          23
                                TO THE HONORABLE COURT AND ALL PARTIES AND THEIR
                          24
                                COUNSEL OF RECORD:
                          25
                                      PLEASE TAKE NOTICE that on March 17, 2017, at 9:30 a.m., or as soon
                          26
                                thereafter as the matter shall be heard, before the Honorable Dolly M. Gee, United
                          27
                                States District Judge, in Courtroom 8C of the United States Courthouse, located at
                          28
                                350 West 1st Street, Los Angeles, CA, 90012, Defendants Tom S. Chang, M.D.,

                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
                      Case 2:13-cv-03772-DMG-MRW Document 91 Filed 02/14/17 Page 2 of 41 Page ID #:510




                         1    Tom S. Chang, M.D., Inc., Michael A., Samuel, M.D., Michael J. Davis, M.D.,
                         2    Brett Braun, Retina Institute of California Medical Group, California Eye and Ear
                         3    Specialists, and San Gabriel Ambulatory Surgery Center LP, by and through their
                         4    attorneys of record, will and hereby do move the Court for an order dismissing the
                         5    Second Amended Complaint ofRelators Bobbette A. Smith and Susan C. Rogers,
                         6    alleging violations of the federal False Claims Act, 31 U.S.C. §§ 3729 et seq.,
                         7    ("FCA"), the California False Claims Act, Cal. Gov. Code§§ 12650 et seq. ("CA-
                         8    FCA"), and the California Insurance Frauds Prevention Act, Cal. Insurance Code §
                         9    1871.7 ("CA-IFPA"), for failure to state a claim and to allege fraud with sufficient
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                         10   particularity pursuant to Federal Rules of Civil Procedure Rule 12(b)(6) and 9(b).
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                        11               This motion is based on the accompanying memorandum of points and
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                        12    authorities, the files and records in this case, upon such matters as the Court may
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_WO                     13    take judicial notice, and on such further evidence and argument as may be
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                        14    presented at any hearing of this motion.
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                        15               This motion is made following discussions by counsel for the parties,
WO        z
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      Cl)               16    pursuant to Local Rule 7-3, which took place via telephone and email on
      w Cl)
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                        17    November 10 and December 16, 2016.
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                        18    DATED: February 14, 2017
                                                                   Respectfully submitted,
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                        20                                         NELSON HARDIMAN LLP
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                        23                                         MARK S. HARDIMAN
                        24                                         Attorneys for Defendants
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                              DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                           1   physical disabilities.      (See SAC          ,r   59; 42 U.S.C. §§ 1395 et seq.).
                                                                                                                     1
                                                                                                                         Under
                           2   Medicare Part B, patients are responsible for a co-payment generally consisting of
                           3   20% of the reasonable charges for physician services as established by the
                           4   Medicare        physician   fee      schedule.           (SAC   ,r,r   55-56;   42   U.S.C.   §
                           5   I395cc(a)(2)(A)(ii)). 2 The Medicare program only reimburses health care services
                           6   that are "reasonable and necessary for the diagnosis or treatment of illness or
                           7   injury." (42 U.S.C. § 1395y(a)(l)(A)).
                           8              Between 2006 and the present, RIC and the RIC Partners allegedly routinely
                           9   waived their Medicare patients' deductible and co-payment obligations without
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                          10   complying with Medicare requirements for writing these obligations off based on
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                               financial hardship. (SAC ,i,r 55-76). The RIC Partners aggressively marketed this
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               a,
                          12   routine waiver to referring physicians in order to "induce" their Medicare patients
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                          13   to choose RIC physicians based on the improper elimination of their out-of-pocket
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                          14   expense, rather than on whether RIC physicians were best qualified to meet their
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                          15   medical needs.       (SAC   ,r,r   72, 75).        RIC's marketing efforts were overseen by
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                          16   Braun, RIC's CEO. (SAC ,I 69). 3
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                                Medicare Part A covers hospital inpatient services and Medicare Part B, a
                          19   voluntary supplementary insurance program, covers outpatient services, including
                               medical care in physicians' offices. (42 U.S.C. §§ 1395C-I395i).
                          20
                               2
                                 The Medicare program is administered by the U.S. Department of Health &
                          21
                               Humans Services through its agency, the Center for Medicare and Medicaid
                          22   Services ("CMS"). CMS in tum contracts with private organizations to act as
                               Medicare Administrative Contractors ("MACs") to review and process Medicare
                          23
                               claims submitted by hospitals and physicians for treatment of Medicare patients.
                          24   (See 42 U.S.C. §§ 1395ff(a)(l), 1395kk-l(a)(3)-(4)).
                               3
                          25     The Complaint specifically identifies only one referring physician - Dr. Michael
                               Rose, an ophthalmologist-who allegedly required RIC to waive co-payments for
                          26   his patients. (SAC ,I 73). Both Dr. Chang and another RIC employee (Dr. Kristy
                          27   Lin) told Relator Smith that Dr. Rose would only refer his Medicare patients to
                               RIC if their co-payments were waived. (Id.) Based on their review of records
                          28
                               relating to certain unidentified Rose patients that showed only 80% of allowable
                               320381.1                                             2
                               DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
                     Case 2:13-cv-03772-DMG-MRW Document 91 Filed 02/14/17 Page 11 of 41 Page ID #:519




                         1              With respect to RIC's Medicare patients, RIC Partners allegedly informed
                         2   RIC physicians that "RIC waived co-payments and deductibles for Medicare
                         3   patients."      (SAC   1 68).   According to Relators, RIC would routinely waive co-
                         4   payments and made no effort to determine whether the Medicare patients qualified
                         5   for a financial hardship waiver. (SAC ,r 61 ). 4
                         6              The RIC physicians allegedly would also sometimes use a financial hardship
                         7   form to support a waiver of the patient's co-insurance obligations, but would use
                         8   justifications (e.g. "retired, fixed income") that would qualify virtually every
                         9   Medicare patient and would also sign the forms even if the patient provided no
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                        10   financial hardship information. (SAC 1 65). 5 In addition, RIC allegedly submitted
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                        11   Medicare claims for the physicians' "full" charges for their services to patients
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                        12   who had their deductibles and co-payments waived, rather than subtracting the
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       w 0              13   waived payment amounts from their "full" charges" to properly bill their "true"
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                        14   charges. (SAC 1 99). 6
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                             Medicare charges were collected, Relators conclude that "[t]hese patients had their
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       ...              17   co-payments waived, without regard to financial hardship criteria or
       --                    documentation." (Id.)
                        18
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                        19     According to the Complaint, at RIC's Garden Grove office, Dr. Suk, a RIC
                             physician, allegedly insisted to Relator Rogers t~at "the waivers continue so that
                        20   referrals would continue to be received from the referring doctors," despite being
                        21   told by Relator Rogers that such routine waivers were improper. (SAC 174).
                             5
                        22     The Complaint includes a list of 10 RIC Medicare patients (identified by patient,
                             treatment period, encounters, and Medicare charges) who allegedly had their
                        23   copayments waived without explanation (SAC ,r 64).
                             6
                        24     According to Relators, they advised the RIC Partners orally (including at a
                             September 25, 2012 meeting) that the RIC policy of routinely waiving payment of
                        25
                             Medicare co-payments and deductibles without any proper verification of financial
                        26   hardship did not comply with Medicare regulations. (SAC 1 67). Dr. Chang
                             allegedly responded that he wanted to continue the financial hardship waivers to
                        27
                             ensure that RIC would not lose patient referrals and patients and would just pay the
                        28   fines if Medicare discovered what was occurring with the waivers. (Id.)
                             320381.l                                     3
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                               1              B.    RI C's Alleged Improper Co-Marketing Agreement With RIC
                               2                    Diagnostics

                               3              The Complaint also alleges that RIC entered into an improper co-marketing
                               4   agreement and/or made a loan to RIC Diagnostics ("RICX"), a company that
                               5   provided mobile optical coherence tomography ("OCT") testing for optometrists to
                               6   screen for and diagnose various retina diseases. (SAC ,r,r 77-78).
                               7              According to Relators, RIC advertised and encouraged optometrists to use
                               8   RICX's mobile OCT service, including by offering free workshops to optometrists
                               9   on how to interpret OCT images and free interpretations of such images by RIC
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                              10   physicians if optometrists requested them. (SAC         ,r,r 79-83).   CEO Braun also
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                              11   allegedly offered free RICX tests to optometrists, told them that they could bill the
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                              12   free OCT tests, and encouraged the optometrists to refer their patients to RIC .
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                              14              C.    The RIC and CEES Physicians' Alleged Improper Referrals to
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                              15                    the San Gabriel Ambulatory Surgery Center
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                                              According to Relators, the RIC Partners, other RIC physicians, and CEES
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        C')                        physicians, also made improper patient referrals to SG-ASC, an ambulatory
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                              18   surgery center in which the RIC Partners have "investment interests," without
                              19   advising the referred patients of such interests. (SAC ,r,r 91-92, 95).
                              20              Patients were allegedly provided with a brochure that informed them that the
                              21   ownership of SG-ASC could be verified by calling the center. (SAC          ,r 95).   At
                              22   Relator Smith's request, an RIC employee called SG-ASC to determine who
                              23   owned the center, but no one at the center could provide that employee with any
                              24   ownership information. (SAC ,r 96).
                              25              D.    The RIC Partners' Medicare Claims for Alleged "Upcoded" Visits
                              26              Relators next allege that the RIC Partners regularly billed Medicare for
                              27   office visits using higher levels of evaluation and management ("E&M") codes
                              28
                                   320381.1                                     4
                                   DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                         1   than the services actually provided, thereby falsely increasing reimbursement.
                         2   (SAC ,r,r 101-116).
                         3               According to · Relators, a "government audit" of Dr. Chang ( 1/3/06-
                         4   7/30/13 ), Dr. Davis (7/17/08-7/31/13), and Dr. Samuel (1/4/06-7/31/13) found that
                         5   they consistently billed a Level 4 office - using Common Procedural Terminology
                         6   ("CPT") code 99204 or 99214 - and that such coding was "unsupported by the
                         7   medical records" primarily because the "History of Present Illness" was too "brief'
                         8   and only supported a Level 2 office visit (CPT Code 99202 or 99212). (SAC          ,r
                         9   113). According to the audit, the RIC Partners billed at Level 4 for 98 to 99% of
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                        10   their office visits even though the state-wide average for retina specialists was 57%
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                        11   and Dr. Davis' rate of billing for a Level 5 office visit (CPT code 99205 or 99215)
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                             was the highest in California. (SAC ,r 114.) In addition, the audit allegedly found
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     w       0          13   that the RIC Partners would bring these patients back every few weeks for
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                        14   "unnecessary" follow-up visits. (SAC ,I 115).
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                        16   overbilled Medicare for $208,566.47 of "overcoded" E&M services, or
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                        17   approximately 30% of their total E&M billings. (SAC ,I 116).
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                        18              E.    RIC's Medicare Claims For Allegedly Unnecessary ICG Tests
                        19              The Complaint further alleges that RIC submitted Medicare claims for
                        20   unnecessary indocyanine green angiography ("ICG") (CPT Code 92240), a
                        21   "controversial" diagnostic that is "infrequently" used to treat age-related macular
                        22   degeneration ("AMD"), and is not the standard of care according to the American
                        23   Academy of Ophthalmology's practice guidelines. (SAC ,r,r 117-119).
                        24              \According to Relators, the RIC Partners' use of ICGs was inconsistent and
                        25   not _within the standard of care for AMD treatment. (SAC ,I 119). In addition, the
                        26   RIC Partners allegedly emphasized that the ICGs (at about $300 per test) were
                        27   more profitable that optical coherence tomography (at about $50 per test), the
                        28   standard test used to diagnose AMD, thereby suggesting that money was the real
                             320381.1                                    5
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   reason for ordering ICGs. (SAC 1 120). 7 The ICG tests were also allegedly not
                            2   ordered for HMO patients because these plans required prior authorization and
                            3   would not have authorized these unnecessary tests. (SAC 1121).
                            4              The Complaint also alleges that the "Department of Justice" evaluated RIC's
                            5   use of ICG on Medicare patients between February and May 2014 and determined
                            6   that ICGs were ordered for virtually every patient visit and that 98.2% of tests were
                            7   medically unnecessary. (SAC 1 119). Relators also note that Dr. Chang and Dr.
                            8   Davis are the top two physicians with respect to Medicare ICG payments in
                            9   California. (SAC 1121).
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                           10              F.    RIC's Alleged Duplicate Medicare Claims for   pr. Bhatti's
        w                                        Services at Dr. Kislinger's Clinic
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                           12              According to the Complaint, RIC had an agreement with Dr. Mark
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        w 0                13   Klisinger under which Dr. Bhatti, a RIC physician, would provide services at Dr.
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                0          14   Klisinger' s Glendora clinic and Dr. Klisinger would bill Dr. Bhatti' s services and
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                           15   pay half of the fees collected to RIC. (SAC 1 122). Between as least April through
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                           16   June of 2012, RIC allegedly billed Medicare for the services Dr. Bhatti had
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                           17   performed in Dr. Kislinger's clinic as though the services had been provided at a
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        --                 18   RIC facility.      (SAC   1 123).   Dr. Chang was allegedly informed by Dr. Klisinger

                           19   and Relator Smith that this double billing needed to be corrected, but RIC failed to
                           20   return the Medicare overpayments that it received for Dr. Bhatti' s services. (SAC

                           21   1125).
                           22              G.    CEES' Alleged Medicare Claims For Assistant Surgeon
                           23                    Services Not Performed

                           24              Relators also allege that CEES, an ophthalmology practice owned by Dr.
                           25   Chang, billed Medicare for the assistant surgeon services of Dr. Lily Lee, Dr.
                           26   Chang's spouse, during retinal surgeries even though she was not present and did
                           27
                                7
                                 For example, Dr. Chang allegedly noted Dr. Suk's outstanding reimbursement of
                           28   $15,000 in Just one mornmg by "simply by warming up the ICG." (SAC 1120).
                                320381.1                                      6
                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                        1   not participate in the surgeries. (SAC   ,r,r 129-132).   The Complaint identifies six
                        2   CEES retinal surgeries (by patient, date of service, and claim amount) in 2012 and
                        3   2013 for which Dr. Lee's assistant surgeon services were allegedly billed even
                        4   though she was not present during the surgeries. (SAC ,r 131 ).
                        5              H.   RIC's Alleged Submission of Incomplete Data to the Medicare
                        6                   Physician Quality Reporting System

                        7              As a voluntary participant in Medicare's Physician Quality Reporting

                        8   System ("PQRS") for 2011, 8 RIC was allegedly required to submit 12 months of

                        9   data on quality measures in order to qualify for incentive patients. (SAC       ,r,r 133-
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                       10   135).       According to Relators, RIC only submitted data on quality measures to
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                       11   Medicare for the last four months of 2011. (SAC           ,r   135). RIC also allegedly
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                              The PQRS is "a voluntary individual reporting program that provides an incentive
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                            quality measures for covered Physician Fee Schedule (PFS) services furnished to
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U) > w                 15   Medicare Part B beneficiaries." See CMS, 2011 Physician Quality Reporting
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                       16   System (Physician Quality Reporting) Implementation Guide, at 3 (2011) available
  == ..J0                   at https://www.cms.gov/Medicare/Quality-Initiatives-Patient-Assessment-
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                            instruments/PQRS/Downloads/2011 _ PhysQualRptg_Implementation
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                            Guide_03312011. pdf. Reporting physicians are required to select and report data
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                            for various care measures, including "prevention, chronic-and acute-care
                       19
                            management, procedure-related care, resource utilization, and care coordination,"
                       20   applicable to their practice. Id. at 3-4. The physicians' reporting of such data
                            depends on which of the various authorized reporting methods (claims-based,
                       21
                            registry-based, electronic health record-based, and group practice reporting
                       22   options-based) is selected, and, depending on the reporting method, the reporting
                            period is either 6 months (July 1, 2011 through December 31, 2011) or 12 months
                       23
                            (January 1, 2011 through December 31, 2011). Id. at 12-13, 18-25. Within the
                       24   applicable reporting period, PQRS requires different quality measures to be
                            reported with different frequencies for patients with specified medical conditions.
                       25
                            See CMS, Physician Quality Reporting System (Physician Quality Reporting)
                       26   Measure Specifications Manual for Claims and Registry, at 1(2011 ), available at
                            https://www.cms.gov/Medicare/Quality-Initiatives-Patient-Assessment-
                       27
                            Instruments/PQRS/20 I I-Physician-Quality-Reporting-System-Items/ CMS 125
                       28   4515 .html ?DLP age= 1&D LEntries= 1O&DLSort=O&DLSortDir=ascending.
                            320381.1                                   7
                            DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                       1   provided PQRS data in 2012 that included information "for activities that had not
                       2   actually occurred." (Id.) In October 2012, Medicare allegedly paid $60,000 to
                       3   RIC based on the incomplete data submitted by RIC for the 2011 PQRS. (SAC                   il
                       4   136).           Although Relator Smith allegedly advised the RIC Partners that this
                       5   payment needed to be returned because RIC had submitted insufficient PQRS data
                       6   for 2011, they refused to refund the overpayment. (SAC ilil 13 7-138).
                       7              I.       RIC's Alleged Failure to Charge Medi-Cal the Same Prices
                                               Charged to Patients Without Insurance Who Paid in Cash
                       8
                       9              Between 2006 and the present, RIC, the RIC Partners, CEES and SG-ASC
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                      10   also allegedly "charged patients without any insurance, who paid for medical
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                      11   services in cash, fees that were lower than the rate Medi-Cal was billed for the
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                      12   same services," in supposed violation of the Medi-Cal Program's Discriminatory
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                      15              According to the Complaint, the CPT codes for which RIC charged
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                      16   uninsured self-pay patients less than the price charged to Medi-Cal included CPT
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                      17   codes 67028 and CPT 67105.            (SAC   il   141 ). Self-pay patients allegedly paid on
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                           average 36.8% ofRIC's usual charges in 2011 and 23.1 % ofRIC's usual charges in
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                      19   2012. (Id.) CEES physicians allegedly charged patients "who paid cash $35.00 for

                      20   CPT 92250, but Medi-Cal paid $42.11." (SAC                iJ   145). Relators also allege that

                      21   RIC's usual charge for CPT code 67028 was $370.00, just over Medi-Cal's

                      22   $364.11 reimbursement rate, even though RIC typically calculated its usual charge

                      23
                           9
                      24     The Medi-Cal program, administered by the California Department of Health
                           Care Services, is California's implementation of the Medicaid program~ a joint
                      25
                           federal-state health care program through which the federal government provides
                      26   financial assistance to states furnishing medical services to qualified indigent
                           persons. (See 42 U.S.C. §§ 1396-1396v; Cal. Welf. & Inst. Code,§§ 14000 et
                      27
                           seq.; 22 CCR§§ 50000 et seq.; Physicians & Surgeons Laboratories, Inc. v.
                      28   Department ofHealth Service, 6 Cal.App.4th 968, 973 (1992)).
                           320381.)                                          8
                           DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   at 200% of the Medicare reimbursement rate, which would have been $250 for this
                                                        10
                            2   code. (SAC 1 142).
                            3              J.   The RIC Partners' Alleged Failure to Advise Medi-Cal Patients
                                                of Their Ownership Interest in SG-ASC
                            4
                            5              According to the Complaint, RIC, the RIC Partners, CEES and SG-ASC all

                            6   submitted Medi-Cal claims for services to patients who were referred to SG-ASC

                            7   by RIC Partners without being advised of the physicians' ownership interest in the

                            8   ambulatory surgery center and the patients' right to obtain services at a facility of

                            9   their choosing. (SAC         11 155-159). Instead, the patients were allegedly provided
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                           10   with a brochure that informed them that the ownership of SG-ASC could be
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                           11   verified by calling the center, but, when Relators called the center, no one there
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                                could provide them with any ownership information. (SAC 11 156-157).
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                           13              K.    RIC's Alleged Waiver of Deductibles and Co-Payments For
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                                                 Commercial Insurance Patients
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C/)    > w                 15              Relators also allege that RIC, the RIC Partners, CEES and SG-ASC
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       U)                  16   routinely waived the deductible and co-payments amounts that they were obligated
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       .,,..,              17   to charge patients covered by commercial health plans (e.g., Empire BlueCross/
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                                Blue Shield, Cigna and United Healthcare) pursuant to the terms of their provider
                           18
                           19   agreements with those plans. (SAC          11 148-149). In addition, these defendants
                           20   allegedly failed to disclose their usual charges to these plans because they charged

                           21   lower prices to uninsured patients who paid in cash. (SAC 1 150).

                           22              L.    Relators' FCA, CA-FCA and CA-IFPA Causes of Action

                           23              Based on these allegations, the Complaint charges that, between July 2006

                           24   and the present, defendants presented false claims to the Medicare program, in

                           25   violation of 31 U.S.C. § 3729(a)(l)(A) (Count I), made false statements material to

                           26
                                10
                                  The Complaint also lists three examples (by patient initials date of service) of
                           27
                                RIC patients who were allegedly charged less than the usual rates charged to Medi-
                           28   Cal. (SAC 1141).
                                320381.1                                      9
                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                        1   Medicare false claims, in violation of 31 U.S.C. § 3729(a)(l )(B) (C~unt II),
                        2   retained Medicare overpayments, in violation of 31 U.S.C. § 3729(a)(l)(G) (Count
                        3   III), submitted false claims to the Medi-Cal program and made false statements to
                        4   obtain payment for such false claims, in violation of Cal. Gov. Code § 1265l(a)(l)
                        5   and (a)(2) (Count IV), and made false insurance claims for healthcare benefits to
                        6   insurance plans and false statements supporting such claims, in violation of Cal.
                        7   Ins. Code § 1871.7(b) and Cal. Penal Code § 550 (Count V). (SAC             ilil 15, 172-
                        8   188).
                        9   III.        STANDARDS OF REVIEW
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                       10              A complaint will survive a motion to dismiss pursuant to Rule 12(b)(6) if it
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                       11   contains "sufficient factual matter, accepted as true, to state a claim to relief that is
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                       12   plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell
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                       13   At!. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible
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              0        14   under Rule 8 when the plaintiff pleads facts that allow the court to "draw the
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                       15   reasonable inference that the defendant is liable for the misconduct alleged."
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                       16   Iqbal, 556 U.S. at 678; U.S. v. Bollinger Shipyards, Inc., 775 F.3d 255, 260 (5th
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        .,,            17   Cir. 2014 ). When considering a motion to dismiss, this Court mu$t accept as true
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                       18   all allegations of material fact and must construe those facts in the light most
                       19   favorable to the plaintiff. Resnick v. Hayes, 213 F.3d 443, 447 (9th Cir. 2000);
                       20   Epstein v. Wash. Energy Co., 83 F.3d 1136, 1140 (9th Cir. 1996). 11 However,
                       21   conclusory allegations or allegations that are no more than a statement of a legal
                       22
                       23   11
                              "In ruling on a 12(b)(6) motion, a court may generally consider only allegations
                       24   contained in the pleadings, exhibits attached to the complaint, and matters properly
                            subject to judicial notice." Swartz v. KPMG LLP, 416 F.3d 756, 763 (9th Cir.
                       25
                            2007). A district court can also consider document~ referenced by the complaint,
                       26   U.S. v. Corinthian Colleges, 655 F.3d 984, 993 n.4 (9th Cir. 2011), and "need not
                            accept as true allegations contradicting documents that are referenced in the
                       27
                            complaint or that are properly subject to judicial notice." Lazy Y Ranch Ltd. v.
                       28   Behrens, 546 F.3d 580, 588 (9th Cir. 2008).
                            320381.1                                     10
                            DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   conclusion "are not entitled to the assumption of truth." Iqbal, 556 U.S. at 679.
                            2   Id. at 679. In other words, relators must ~upport their claim with more than a
                            3   formulaic recitation of the elements, labels and conclusions, and naked assertions
                            4   of fact. Id. at 678. Instead, relators must allege sufficient facts such that a court
                            5   has "plausible grounds to infer" that their claims rise "above the speculative level."
                            6   Twombly, 550 U.S. at 555-56.
                            7              Since Relators' Complaint is brought under the FCA, CA-FCA and CA-
                            8   IFPA, it must also fulfill the requirements of Rule 9(b). See Cafasso, U.S. ex rel. v.
                            9   General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1054 (9th Cir. 2011); Vess v.
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                           10   Giba-Ceigy Corp., 317 F.3d 1097, 1103 (9th Cir. 2003) (Rule 9(b) applies to state-
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                           11   law causes of action). Rule 9(b) requires that the details constituting the alleged
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z <~ z~                    12   fraud must "give defendants notice of the particular misconduct which is alleged
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                           14   have done anything wrong." Neubronner v. Milken, 6 F.3d 666, 671 (9th Cir.
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       > w                 15   1993). This requires that the particular facts supporting a fraud cause of action
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       II)                 16   include the "who, what, when, where and how" of the misconduct charged, as well
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       .,,..,              17   as "what is false or misleading about a statement and why it is false." United
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                           18   States ex rel. Ebeid v. Lungwitz, 616 F.3d 993, 998 (9th Cir. 2010) (citing Vess,
                                                      12
                           19   317 F .3d at 1106).        Allegations on information and belief do not satisfy Rule
                           20
                                12
                           21         In the context of an FCA action, Rule 9(b) can be satisfied without detailed
                                allegations regarding the false claims - such as the exact dollar amounts, billing
                           22   numbers, or dates - if the complaint alleges "particular details of a scheme to
                           23   submit false claims paired with reliable indicia that lead to a strong inference that
                                claims were actually submitted." Ebeid, 616 F.3d at 998-999 (quoting U.S. ex rel.
                           24   Grubbs v. Ravikumar Kanneganti, 565 F .3d 180, 190 (5th Cir. 2009) ). However,
                           25   "[t]his does not absolve [a relator] of the burden of otherwise sufficiently pleading
                                the time, place, or identity details of the traditional standard, in order to effectuate
                           26   Rule 9(b)'s function of fair notice and protection from frivolous suits." U.S. ex rel.
                           27   Nunnally v. West Calcasieu Cameron Hosp., 519 F. App'x 890, 895 (5th Cir.
                                2013); Ebeid, 616 F.3d at 999. Rule 9(b)'s "heightened pleading standard for
                           28   fraud claims supplies defendants with the information they need to prepare
                                320381.)                                   11
                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                         1   9(b). U.S. ex rel. Bogina v. Medline Industries, Inc., 809 F.3d 365, 370 (7th Cir.
                         2   2016); County of Santa Clara v. Astra U.S., Inc., 428 F.Supp.2d 1029, 1036-37
                         3   (N.D. Cal. 2006). Rule 9(b)'s particularity requirement applies to FCA claims
                         4   based on alleged kickbacks. Nunnally, 519 F. App'x at 894; Hericks v. Lincare
                         5   Inc., 2014 WL 1225660, at *12 (E.D. Pa. Mar. 25, 2014). A dismissal for failure
                         6   to plead fraud with particularity pursuant to Rule 9(b) is treated the same as a Rule
                         7   12(b)(6) dismissal for failure to state a claim. Vess, 317 F.3d at 1107.
                         8   IV.        ARGUMENT
                         9              A.    THE COMPLAINT FAILS TO STATE A VALID FEDERAL
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                        10                    FCA CLAIM AGAINST DEFENDANTS
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                        11              As detailed below, the Complaint alleges eight different theories of liability
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                        12   under the federal FCA against some or all of the eight defendants. However,
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                        13   Relators' various allegations fail to state a valid FCA claim against any of the
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               0        14   defendants, either as a matter of law or because they do not allege fraud with the
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Cl)    > w              15   required factual particularity pursuant to Rules l 2(b)(6) and 9(b ).
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       w en                                   1.    The Federal FCA
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       ..,              17              The federal FCA is designed to punish and deter fraud against the federal
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                        18   government. See U.S. v. Bornstein, 423 U.S. 303, 309 & n.5 (1976). To establish
                        19   FCA liability for presenting false claims, a relator must allege ( 1) a false or
                        20   fraudulent claim, (2) which was presented, or caused to be presented, by the
                        21   defendant to the United States for payment or approval, (3) with knowledge that
                        22   the claim was false. See 31 U.S.C. § 3729(a)(l)(A); U.S. v. Mackby, 261 F.3d 821,
                        23   826 (9th Cir. 2001). 13 To establish a valid FCA claim for making false statements,
                        24
                        25
                             responses, prevents discovery intended as a mere fishing expedition, and protects
                        26   the defendants' reputations from baseless allegations." Nunnally, 519 F. App'x at
                             892 n.2.
                        27
                             13
                                Relators' Complaint is brought under FCA provisions that permit a private
                        28
                             litigant to bring a qui tam action on behalf of the federal government against
                             320381.l                                      12
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                          1   a relator must allege that (1) there was a false statement, (2) made knowingly, (3)
                          2   that was material, and (4) that caused the government to pay out money or to
                          3   forfeit moneys due (i.e., that involved a claim).       31 U.S.C. § 3729(a)(l)(B);
                          4   Gonzalez v. Fresenius Medical Care North America, 689 F.3d 470, 475 (5th Cir.
                          5   2012). 14       In order to state a valid FCA "reverse false claim" for retaining
                          6   overpayments, a relators must allege that defendants either ( 1) knowingly
                          7   concealed or knowingly and improperly avoided or decreased an obligation to pay
                          8   money to the government or (2) knowingly made or used a false statement material
                          9   to an obligation to pay money to the government. 31 U.S.C. § 3729(a)(l)(G).
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                         10              Under the FCA, a person acts "knowingly" when that person ( 1) has actual
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                         11   knowledge of the information; (2) acts in deliberate ignorance of the truth or falsity
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                         12   of the information; or (3) acts in reckless disregard of the truth or falsity of the
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                         13   information.      31 U .S.C. § 3729(b ).   No proof of specific intent to defraud is
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                         14   required to establish knowledge. Id.
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                         15              The FCA is not a catchall anti-fraud provision, but expressly "'attaches
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        (I)              16   liability, not to the underlying fraudulent activity or to the government's wrongful
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                         17   payment, but to the claim for payment."' Cafasso, 637 F.3d at 1055 (quoting U.S.
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                         18   v. Rivera, 55 F.3d 703, 709 (1st Cir. 1995)). "Evidence of an actual false claim is
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                         20
                              anyone who submits a false claim to the government. See 31 U.S.C. §§ 3729(a),
                         21   3730(b) (2016) (authorizing private individual, the relator, to "bring a civil action
                         22
                              for a violation of section 3729 ... for the United States Government."). The
                              government may intervene in the action, but if it chooses not to do so, the relator
                         23   bringing the action may proceed on his own. See 31 U.S.C. § 3730(b)(2) (2016).
                              14
                         24      Stated differently, a relator "must show that the government paid a false claim to
                              prove a violation" of the FCA' s false statement provision. Hopper v. Solvay
                         25
                              Pharmaceuticals, Inc., 588 F .3d 1318, 1328 (11th Cir. 2009). In addition, Relators
                         26   "must demonstrate that [the government] was owed a specific, legal obligation at
                              the time that the alleged false record or statement was made[.]" U.S. v. Bourseau,
                         27
                              531 F.3d 1159, 1169 (9th Cir. 2008). The obligation "cannot be merely a potential
                         28   liability." Id.
                              320381.1                                    13
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                         1   'the sine qua non of a False Claims Act violation."' U.S. v. Kitsap Physicians
                         2   Service, 314 F.3d 995, 1002 (9th Cir. 2002), quoting U.S. ex rel. Clausen v.
                         3   Laboratory Corp. ofAmerica, Inc., 290 F.3d 1301, 1312 (2002).
                         4              A claim can be "false" within the meaning of the FCA under a variety of
                         5   theories.      Most simply, a claim is facially or factually false if "the claim for
                         6   payment is itself literally false or fraudulent." U.S. ex rel. Hendow v. Univ. of
                         7   Phoenix, 461 F .3d 1166, 1170 (9th Cir. 2006).         Alternatively, a claim can be
                         8   "false" under an express certification theory if ( 1) the defendant knowingly makes
                         9   a false certification or statement of compliance with a government regulation, (2)
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                        10   that is "material to the government's decision to pay out moneys to the claimant"
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     I- ...             11   and (4) the claim asks for government payment. Id. at 11 71-1173.
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                        12              Finally, under an implied certification theory, the U.S. Supreme Court has
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     w 0                13   recently held that a claim can be a "false" misrepresentation ( 1) if the claim "does
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                        14   not merely request payment, but also makes specific representations about the
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                        15   goods or services provided," (2) "the defendant's failure to disclose noncompliance
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     Cl)                16   with material statutory, regulatory, or contractual requirements makes those
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     .,,                     representations misleading half-truths," and (3) these misrepresentations are
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                        18   material to the government's payment decision. Universal Health Services v. U.S.
                        19   ex rel. Escobar, 136 S. Ct. 1989, 2001-2002 (2016). While the Supreme Court
                        20   declined to decide whether the submission of claim impliedly represents that the
                        21   billing party is legally entitled to payment, id. at 2000, the Ninth Circuit has held
                        22   that the implied certification theory is "'based on the notion that the act of
                        23   submitting a claim for reimbursement itself implies compliance with governing
                        24   federal rules that are a precondition to payment."' Ebeid, 616 F.3d at 996 (quoting
                        25   Mikes v. Straus, 274 F.3d 687,699 (2d Cir. 2001)).
                        26              Under the FCA's "demanding" materiality standard, it is not sufficient for
                        27   relators to simply allege that the government "designates compliance with a
                        28   particular statutory, regulatory, or contractual requirement as a condition of
                             320381.1                                    14
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   payment" or "would have the option to dee.line to pay if it knew of the defendant's
                            2   noncompliance." Escobar, 136 S. Ct at 2003. In addition, materiality "cannot be
                            3   found where noncompliance is minor or insubstantial." Id. at 2003.
                            4                    2.    The Complaint Fails to State a Federal FCA Claim Based
                            5                          on RIC's Alleged Waiver of Medicare Patients'
                                                       Deductibles and Co-Payments
                            6
                            7               Relators' primary theory of FCA liability is that RIC and the RIC Partners

                            8   violated the FCA by submitting Medicare claims that were false and non-

                            9   reimbursable because their "routine" waivers of the patients' co-payments without

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                                adequately verifying that they qualified for a financial hardship allegedly (a)
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                           11   violated the federal Anti-Kickback Statute ("AKS"), 42 U.S.C. § 1320a-7b, and (b)
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                           12   misrepresented the true charges for RIC services by failing to subtract the waived
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        w 0                13   copayment amount from RIC's billed charges. See SAC ,I,I 55-76, 98-100 ..
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                0          14              Under the AKS, it is illegal to knowingly and willfully offer or pay
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                           15   "remuneration (including any kickback, bribe, or rebate) directly or indirectly,
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        en                 16   overtly or covertly, in cash or in kind to any person to induce such person" to
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                           17   either (a) "refer an individual to a person for the furnishing or arranging for the
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                           18   furnishing of any item or services" or (b) "purchase, lease, order . . . any good,

                           19   facility, service, or item for which payment may be made in whole or in part under

                           20   a Federal health care program." 42 U.S.C. § 1320a-7b(b)(2). The AKS includes

                           21   various "safe harbor" provisions that exclude certain types of payments from being

                           22   considered illegal remuneration. See 42 U.S.C. § 1320a-7b(b)(3). In order to

                           23   establish a willful violation of the AKS, the government must prove that the

                           24   defendant acted with knowledge that his conduct was unlawful, but need not prove

                           25   that he had actual knowledge of or a specific intent to violate the AKS. See 42

                           26   U.S.C. § 1320a-7b(h); U.S. v. Starks, 157 F.3d 833, 838 (11th Cir.1998); U.S. v.

                           27   Mousavi, 604 F.3d 1084, 1092-1093 (9th Cir. 2010). As of 2010, any Medicare

                           28   claim that includes services delivered in violation of the AKS constitutes a false
                                320381.1                                    15
                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                         1   claim within the meaning of the FCA. 42 U.S.C. § 1320a-7b(g) (2010).
                         2              In this case, the Complaint's allegations fail to legally and factually establish
                         3   that RIC's alleged "routine" waivers of their Medicare patients' co-payment
                         4   obligations violated the AKS. While the Office of Inspector General ("OIG")
                         5   guidance cited in the Complaint states that providers who provide such waivers
                         6   "could be held liable" under the AKS because when they "forgive financial
                         7   obligations for reasons other than genuine financial hardship of the particular
                         8   patient, they may be unlawfully inducing that patient to purchase items or services
                         9   from them," see SAC         ,r 57(citing    OIG Special Fraud Alert: Routine Waivers of
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                        10   Copayments and Deductibles Under Medicare Part B (May 1991) (reprinted in 59
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                        11   FR 242 (December 19, 1994), such routine waivers do not necessarily violate the
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                        12   AKS.         Thus, merely alleging that a Medicare provider routinely waives co-
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                        13   payment obligations does not excuse Relators' obligation to sufficiently allege all
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                        14   elements of an AKS violation underlying an FCA claim.
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                        15              Here, Relators' conclusory allegations that RIC and the RIC Partners
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                        16   "routinely" waived the copayment obligations of Medicare patients are insufficient
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                        17   under Rules l 2(b )(6) and         9(b) to show an AKS violation absent any factual
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                        18   allegations establishing that such waivers were improper because the Medicare
                        19   patients did not have a "financial hardship"· or "financial need" supporting such
                        20   waivers and that such waivers were to "induce" the Medicare patients to receive
                        21   services from RIC versus some other provider.            In particular, the First Amended
                        22   Complaint indicated that RIC only waived the copayment obligations if asked to
                        23   do so by patients, see FAC         ,r 75,   and, while Relators now allege in conclusory
                        24   fashion that RIC did not appropriately determine or document whether patients had
                        25   a "financial hardship" before providing a waiver or writing off the debt, the
                        26   Complaint fails to identify what "financial hardship" standard RIC was required to
                        27   satisfy for Medicare patients and contains no factual allegations indicating that RIC
                        28   patients did not have such a "financial hardship."          Under Rule 9(b), such vague
                             320381.l                                        16
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                          1   allegations are factually insufficient to establish that the RIC physicians' "routine"
                          2   waivers of the co-payment obligations of certain Medicare patients when asked to
                          3   do so constituted a willful criminal violation of the AKS or resulted in Medicare
                          4   false claims. See Nunnally, 519 F. App'x 890, 895 (5th Cir. 2013) (FCA complaint
                          5   properly dismissed where Relator's conclusory · allegations failed to plausibly
                          6   establish existence of kickback scheme or describe fraud with particularity); U.S.
                          7   ex rel. Lam v. Tenet Healthcare Corp., 481 F. Supp. 2d 673, 687-688 (W.D. Tex.
                          8   2006) (dismissing FCA kickback claim for failure to satisfy Rule 9(b) particularity
                          9   requirement).
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                         10              Similarly, the Complaint's allegation that RIC's waivers of copayments
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                         11   were intended to induce other _physicians to refer their patients also fails to meet
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                         12   the "who, what, when and how" requirements of Rule 9(b). While Relators allege
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0 _, ...                 13   that RIC physicians and the RIC Partners routinely informed potential referring
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                         15   would be waived, this solicitation by itself does not plausibly constitute
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                         16   "remuneration" to "induce" the referring physician to refer such patients to RIC
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       .,,..,            17   because such a waiver provides nothing of value to the referring physician.
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                         18   Moreover, even if RIC's alleged waiver offer to referring physicians did constitute
                         19   "remuneration" within the meaning of the AKS, Rule 9(b) requires that Relators
                         20   provide factual specifics regarding the identity of referring physicians who were
                         21   solicited in this fashion, who at RIC made the waiver offers, when such offers were
                         22   made, which Medicare patients of the referring physicians were referred as a result,
                         23   and whether the co-payment and deductible obligations of those Medicare patients
                         24   were in fact waived by identified RIC physicians.
                         25              Here, however, the Complaint only identifies one referring physician (Dr.
                         26   Michael Rose) who allegedly required such a waiver as a condition of his referrals,
                         27   see SAC ,I 73, but fails to specifically identify any Medicare patients who were
                         28   referred by that physician to RIC, had their co-payment and deductible obligatio?s
                              320381.1                                   17
                              DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                           1   improperly waived without regard to "financial hardship," and received RIC
                           2   services that were billed to the Medicare program.            Such bare-boned factual
                           3   allegations are insufficient to establish that RIC and the RIC Partners routinely
                           4   offered illegal remuneration to referring physicians as an inducement for patient
                           5   referrals in violation of the AKS and that Medicare false claims resulted.
                           6              In a similar vein, Relators' allegation that such routine waivers also caused
                           7   RIC' s resulting claims to be false because the claims mispresented RIC' s charges
                           8   by failing to subtract the amount of the waived deductible or co-payment, see SAC
                           9   ,J,J 98-99, fails to state a valid FCA claim under Rules 12(b)(6) and 9(b ). While
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                          10   such a waiver might have impacted proper Medicare reimbursement prior to 1991
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                          11   when services were based on the provider's "reasonable charge," see 42 U.S.C. §§
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                          12   13951, 1395u(o), CMS now reimburses Medicare Part B physician services based
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        w       0         13   on a Medicare physician fee schedule - which sets reimbursement for such
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                          14   services at fixed amounts - and under which Medicare pays 80 percent of the fee
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                          15   schedule amount and the patient is responsible for paying the remaining 20
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                          16   percent. 66 FR 40372, 40394 (Aug. 2, 2001); 63 FR 58814, 58882 (Nov. 2, 1998);
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        ..,               17   56 FR 59502 (Nov. 25, 1991). Thus, Medicare's payments to RIC for office visit
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                          18   or other physician service claims would be the same regardless of whether RIC
                          19   allegedly improperly waived the patient's deductible or co-payment obligations.
                          20   Under such circumstances, Relators have failed to allege any facts establishing that
                          21   RIC's charges for Medicare services were material to Medicare's payment
                          22   decision.
                          23                    3.    The Complaint Fails to State a Federal FCA Claim Based
                                                      0~ RIC's Co-Marketing Agreement With RICX
                          24
                          25              The Complaint also alleges that defendants RIC, the RIC Partners, and

                          26   Barnes somehow violated the FCA by having an "improper" co-marketing

                          27   agreement and/or making a "loan" to RIC Diagnostics ("RICX"), a mobile optical

                          28   coherence tomography ("OCT") company, under which RIC and RICX each
                               320381.1                                     18
                               DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                         1   allegedly encouraged optometrists to refer their patients to the other, including by
                         2   variously offering free workshops and OCT tests and interpretations, and Dr.
                         3   Chang suggested that RIC would pay RICX more if referrals increased. SAC           ,r,r
                         4   77-89.
                         5            Without any factual allegations about the specific nature of the financial
                         6   relationship between RIC and RICX - whether through marketing agreement or
                         7   loan - the Complaint fails to describe any "improper" relationship or any illegal
                         8   between the two entities violating the AKS with the factual particularity required
                         9   by Rule 9(b). Nor does the Complaint identify any illegal payment (whether by
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                        10   date or amount) by RIC or Dr. Chang to RICX for Medicare patient referrals.
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                        11   Similarly, Relators' generic allegations fail to establish that the defendants paid
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                        12   any illegal remuneration to optometrists in exchange for Medicare referrals .
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        _, II.          13            In particular, Relators' allegations fail to identify any of the optometrists
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                0       14   who allegedly received free workshops or free OCT tests or interpretations, any
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        (/)             16   were provided to such patients and billed to the Medicare program. As such, under
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                        17   Rules 12(b)(6) and 9(b ), Rel ators have failed to state a valid FCA claim predicated
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                        18   on alleged AKS violations arising from RIC's relationship with RICX.
                        19                   4.      The Complaint Fails to State A Federal FCA Claim
                                                     Based On the RIC Physicians' Patient Referrals To The
                        20
                                                     SG-ASC In Which They Allegedly Have Investment
                        21                           Interests
                        22            Next, the Complaint alleges that the RIC Partners' Medicare claims for
                        23   services provided at the defendant SG-ASC were false because they resulted from
                        24   referrals of patients who were not informed of the physicians' 50% ownership
                        25   interest in the ambulatory surgery center, in supposed violation of the federal AKS.
                        26   See SAC      ,r,I   91-97.   Under the Medicare AKS safe harbor for investments in
                        27   ambulatory surgery centers, 42 U.S.C. § 1001.952(r), "remuneration" does not
                        28   include any payment that is a return on an investment interest made to a physician
                             320381.1                                 19
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                         1   investor in an ambulatory ~urgical center if various standards are met, including
                         2   that "patients referred to the investment entity by an investor are fully informed of
                         3   the investor's investment interest." 42 U.S.C. § I 001.952( r). Relators allege that
                         4   the RIC Partners' "failure to comply with the requirements" of this safe harbor
                         5   "results in remuneration prohibited by 42 U.S.C. 1 395nn and 42 C.F.R. 411.353."
                         6   SAC iJ 97.
                         7              However, the RIC Partners' alleged failure to comply with one element of
                         8   the safe harbor for ASC investments does not establish an AKS violation.               In
                         9   particular, "the various Medicare 'safe harbors' define a subset of clearly legal
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                        10   conduct, but that does not mean that anything outside of the 'safe harbors' violates
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                        11   the AKS." Klaczak v. Consolidated Medical Transport, 458 F.Supp.2d 622, 686
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                        12   (N.D. Ill. 2006).        Rather, CMS has confirmed that "it is not true that every
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                        13   arrangement that does not comply with a safe harbor is suspect under the anti-
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               0        14   kickback statute, though such arrangements may be suspect in particular
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                        15   circumstances." 64 FR 63518, 63521 (Nov. 19, 1999). In addition, Relators have
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                        16   failed to plausibly allege that the RIC Partners did not satisfy the safe harbor. 15
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       "'..,            17              In addition, Relators have failed to allege any facts specifically describing
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                        18   the nature of the RIC Partners' ownership interests in defendant SG-ASC, how
                        19   they received any returns on such interests, and the financial relationship between
                        20   such returns and their referrals of unidentified patients to the center. Without such
                        21   particular allegations, the Complaint provides no factual basis for inferring that the
                        22   RIC Partners' investment interest violated the AKS by "inducing" them to refer
                        23
                             15
                        24     In particular, Relators' allegation that RIC informed patients via brochure that
                             they could verify defendant SG-ASC' s ownership by calling the center, but that
                        25
                             center staff were unable to do so when Relator had someone call the center on a
                        26   single occasion is insufficient to plausibly establish that all patients were never
                             fully informed of the RIC Partners' investment interests. As a result, the
                        27
                             Complaint fails to establish that the RIC Partners' investment interests were not
                        28   protected by the federal AKS safe harbor for investments.
                             320381.1                                     20
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                          1   patients to the center and caused any resulting Medicare claims for such patients to
                          2   be false. See Han/ester Network v. Shala/a, 51 F.3d 1390, 1399 (9th Cir. 1995)
                          3   Goint venture laboratories did not violate AKS by merely encouraging physician
                          4   investors to refer patients to them). Accordingly, under Rules 12(b)(6) and 9(b ),
                          5   the Complaint fails to state a valid FCA claim predicated on the RIC Partners'
                          6   investment interests in defendant SG-ASC.
                          7                    5.    The Complaint Fails to State a Federal FCA Claim Based
                                                     on Dr. Davis' and Dr. Samuels' Alleged "Upcoding" of
                          8
                                                     Office Visits
                          9              Relators next allege that RIC physicians regularly billed Medicare for office
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                         10   visits using billing codes for higher levels of evaluation and management ("E/M")
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       I- ....           11   services than actually provided, thereby fraudulently increasing reimbursement.
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                         12   SAC ,r 124. Such a billing practice (known as "upcoding") can be actionable under
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                         13   the FCA.         U.S. ex rel. Obert-Hong v. Advocate Health Care, 211 F. Supp. 2d
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                o        14   1045, 1051 (S.D. Fl. 2012); U.S. ex rel. Harris v. Bernad, 275 F. Supp. 2d I, 6
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U)     >- w              15   (D.D.C. 2003).
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                                         The Medicare program requires physicians to bill Medicare Part B services,
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       co                     including office visits, using the American Medical Association's Current
                         18   Procedural Terminology ("CPT") numeric codes to describe the services provided.
                         19
                              See Medicare Claims Processing Manual, Pub. 100-04, Ch. 12, § 30. 16 In the case
                         20   of office visits, a physician's E/M services are typically billed using a five-level
                         21   series of CPT codes for either a new patient (CPT-4 Codes 99201 through 99205)
                         22   or an established patient (CPT-4 Codes 99211 through 99215), with the higher
                         23   code or "Level" numbers (e.g., Level 1 being the lowest and Level 5 being the
                         24   highest) corresponding with the increased "complexity of the physician's decision-
                         25   making, the comprehensiveness of both the physical examination and the patient
                         26
                         27   16
                                CMS's Medicare manuals are available on the Internet at https://www.cms.gov/
                         28   regulations-and-guidance/guidance/manuals/intemet-only-manuals-ioms.html.
                              320381.1                                     21
                              DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   history, the severity of the presenting medical problem, and the amount of face-to-
                            2   face time that the physician_ spends with the patient and the patient's family." U.S.
                            3   v. Singh, 390 F.3d 168, 177 (2d Cir. 2004); U.S. ex rel. Thayer v. Planned
                            4   Parenthood of the Heartland, 765 F.3d 914, 920 (8th Cir. 2014). In guidance,
                            5   CMS has explained that history, examination, and medical decision making - and
                            6   not time spent with the patient - are generally "the key components in selecting the
                            7   level of E/M services" unless the office visit consists "predominantly of counseling
                            8   or coordination of care" in which case "time is the key or controlling factor to
                            9   qualify for a particular level of E/M service."          See CMS, 1997 Documentation
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       a,
                           10   Guidelines for Evaluation and Management Services, at 4 ( 1997). 17 By way of
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                           11   example, an office visit qualifying for E/M CPT Code 99214 (Level 4) is described
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                           12   by the AMA as follows:
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                           13              Office or other outpatient visit for the evaluation and management of
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                                           an established patient, which requires at least 2 of these 3 key
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                           14              components:
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                           15                 • A detailed history;
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                                              • A detailed exammation;
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                           16                 • Medical decision making of moderate complexity.
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       ......                              Counseling and/or coordination of care with other physicians, other
       --                                  qualified nealthcare professionals, or agencies are provided consistent
                           18              with the nature of the problem(s) and the patient's and/or family's
                                           needs.
                           19
                                           Usu~lly1 the _pre~enting problem(s) are of mod~rate to high severity.
                           20              Typ~cahy,  25 mmutes are spent face-to-face with the patient and/or
                                           famtly.
                           21
                           22   AMA, CPT 2014, at 9 (2014).

                           23              In this case, the sole factual basis for the Complaint's allegation that the RIC
                           24   Partners improperly billed Level 4 is some type of "government audit" that
                           25   allegedly found the physicians' documentation of "History of Present Illness" was
                           26
                           27   17
                                 Available at https://www.cms.gov/0utreach-and-Education/Medicare-Leaming-
                           28   Network-MLN/MLNEdWebGuide/Downloads/97Docguidelines.pdf.
                                320381.1                                      22
                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                         1   too "brief" to support a Level 4 code for 98.2% of the patients seen between
                         2   January 2006 and July 2013, and that certain follow-up visits were also somehow
                         3   "unnecessary." With respect to Dr. Davis allegedly being the highest biller of the
                         4   Level 5 code in California, Relators allege no facts at all establishing such billings
                         5   were improper.
                         6              This bare-boned, conclusory and second-hand recitation of the results of
                         7   some type of unidentified "government audit" that supposedly found poor
                         8   physician supporting documentation and "unnecessary" follow-up visits fails to
                         9   state an FCA claim based on alleged "upcoding" of office visits under Rule
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                        10   12(b)(6) and does not describe any fraud with the particularity required by Rule
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       I- •             11   9(b). In particular, Relators' generic conc\usion (based on the audit results) that
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                             the RIC Partners' documentation of one element of a Level 4 code was too "brief'
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       w 0              13   does not support a plausible claim that the Level 4 claims were "objectively false"
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                        14   within the meaning of the FCA, nor establish that Relators have any personal
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                        15   knowledge regarding the conduct described. See U.S. v. Prabhu, 442 F.Supp.2d
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       Cl)              16   100, 1032-1034 (D. Nevada. 2006) (because rules regarding documentation for
       w     Cl)

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                        17   establishing medical necessity for services provided were ambiguous, Medicare
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       Q)




                        18   services provider could not be found to have "knowingly" submitted any "false"
                        19   claim to the government regarding the medical necessity of his claims);
                        20              Similarly, Relators' conclusory allegation that certain "follow-up" visits
                        21   were "unnecessary" does not satisfy Rule 9(b) when they include no facts
                        22   identifying which visits fell into this category or why the visits were unnecessary.
                        23   See Frazier ex rel. US. v. Iasis Healthcare Corp., 392 Fed. Appx. 535, 2010 WL
                        24   3190641, at *l (9th Cir. 2010) (FCA complaint properly dismissed where relator's
                        25   "allegations regarding medically unnecessary procedures were conclusory at
                        26   best"); Advocate Health Care, 211 F. Supp. 2d at 1051 (Rule 9(b) required
                        27   dismissal of complaint where relator failed to provide factual basis for allegation
                        28   that provider upcoded services); U.S. ex rel. Stewart v. The Louisiana Clinic, 2002
                             320381.1                                    23
                             DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                           1   WL 106674, *2, 4 (E.D. La. 2002) (same as to claims for unnecessary and upcoded
                           2   services against clinic versus various ordering physicians); see also U.S. ex rel.
                           3   Bennett v. Boston Scientific Corp., No. H-07-2467, 2011 WL 1231577, at *30
                           4   (S.D. Tex. 2011) (dismissing FCA upcoding claim pursuant to Rule 9(b)).
                           5                    6.    The Complaint Fails to State a Federal FCA Claim Based
                                                      On RIC's Medicare Claims For Allegedly Unnecessary
                           6
                                                      or Worthless ICGs
                           7
                           8              In support of their fifth theory of FCA liability, Relators allege that RIC

                           9   submitted Medicare (and Medi-Cal) claims for unnecessary indocyanine green

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                          10   angiography ("ICG") tests. SAC ,I,I 113-114, 116. Medicare claims for medically
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      I- ..,              11   unnecessary services can be actionable under the FCA, but "must be based on an
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                          12   objectively verifiable fact." U.S. ex rel. Landis v. Hospice Care of Kansas, LLC,
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                               2010 WL 5067614, *4 (D. Kan. Dec. 7, 2010); U.S. ex rel. Riley v. St. Luke's
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               0          14   Episcopal Hospital, 355 F.3d 370, 376 (5th Cir. 2004); U.S. ex rel. Morton v. A
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                          15   Plus Benefits, Inc., 139 Fed. Appx. 980, 982 (10th Cir. 2005).
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      Cl)                 16              In this case, Relators' broad allegation that many of the RIC ICGs were
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                          17   "medically unnecessary" is entirely conclusory. Their allegations that the RIC
      ...
      --                       Partners' use of ICGs was not the usual standard of care for diagnosing AMD, that
                          18
                          19   the number of tests performed was higher than other retinal practices, or that RIC

                          20   made money from the tests and ordered more ICGs for Medicare patients that for

                          21   commercial plan patients do not plausibly establish that any of the tests were

                          22   objectively unnecessary when the Complaint contains no information about when

                          23   an ICG is medically appropriate and necessary.

                          24              While the Complaint does baldly allege that a Department of Justice study

                          25   found that 90.8% of the ICGs provided to RIC Medicare patients between February

                          26   and May of 2014 were not "medically necessary," Relators do not allege how and

                          27   why such ICGs were unnecessary for this or any other category of Medicare

                          28   patients nor identify any Medicare patient for whom an unnecessary· ICG claim
                               320381.1                                    24
                               DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                        1   was actually submitted to the Medicare program .. Without such specific factual
                        2   support, Relators have . faBed to state an FCA claim based on "medically
                        3   unnecessary" services.        See Frazier, 20 IO WL 3190641, at *l (9th Cir. 2010)
                        4   (FCA complaint properly dismissed where relator's "allegations regarding
                        5   medically unnecessary procedures were conclusory at best"); US. ex rel. Thompson
                        6   v. Columbia/ HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir. 1997) (FCA
                        7   claim properly dismissed where relator failed to provide factual basis for allegation
                                                                                                         18
                        8   that hospital chain submitted claims for medically unnecessary services ).
                        9                    7.    The Complaint Fails to State a Federal FCA Claim Based
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                       10                          on RIC's Alleged Duplicate Medicare Claims for Dr.
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      w                                            Bhattio's Services at Dr. Kislinger's Clinic
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                       12              According to the Complaint, between at least April through June of 2012,
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                            RIC also submitted duplicate Medicare claims for the services of Dr. Bhattio, a
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              CJ       14   RIC physician, "as though the services had been provided at RIC," when in fact
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                       15   they had been provided at Dr. Mark Klisinger' s Glendora clinic under an
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      (I)              16   agreement whereby Dr. Klisinger billed Dr. Bhattio' s services and paid half of the
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                            fees collected to RIC. See SAC ,r,r 122-125 .
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                       18              While Relators' allegations state a valid theory of FCA liability based on

                       19   double billing or failure to return an overpayment, they fall far short of satisfying

                       20   Rule 9(b)' s particularity requirement. In particular, the Complaint contains no

                       21   factual allegations about how RIC billed Dr. Bhattio's services "as though the

                       22   services had been provided at RIC," or otherwise establishing that such duplicate

                       23
                            18
                       24     See also Advanced Rehabilitation, LLC v. UnitedHealthgroup, Inc., 498 Fed.
                            Appx. 173, 177 (3d Cir. 2012) (complaint dismissed where plaintiffs alleged
                       25
                            no facts to demonstrate that therapy procedures were "medically necessary" for the
                       26   particular patients who received them); Illinois Farmers Ins. Co. v. Mobile
                            Diagnostic Imaging, Inc., 2014 WL 4104789, at *12 (D. Minn. Aug. 19, 2014)
                       27
                            ("Of course, the conclusory statement that the [MRI] scans were medically
                       28   unnecessary is not entitled to the assumption of truth.")
                            320381.1                                    25
                            DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   billings were "fraudulent" as opposed to being a simple billing error. In addition,
                            2   the Complaint fails to identify any Medicare claims (whether by patient, service, or
                            3   payment amount) submitted by both Dr. Klisinger and RIC for the same services of
                            4   Dr. Bhattio and otherwise allege no facts plausibly establishing that duplicate
                            5   claims were submitted for Medicare patients versus patients covered by Medi-Cal
                            6   or a commercial plan.        Accordingly, Relators' FCA claim based on alleged
                            7   duplicate Medicare claims for Dr. Bhattio' s services fails to satisfy Rule 9(b ).
                            8                   8.    The Complaint Fails to State a Federal FCA Claim Based
                                                      on CEES' Alleged Medicare Claims For Assistant
                            9
                                                      Surgeon Services Not Performed
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                           10              Relators also allege that CEES, an ophthalmology practice owned by Dr.
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                           11   Chang, billed Medicare for the assistant surgeon services of Dr. Lily Lee, Dr.
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                           12   Chang's spouse, during retinal surgeries even though she was not present and did
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                --'             not participate in the surgeries, and identifies seven CEES retinal surgery claims in
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                           14   2012 and 2013 for which Dr. Lee's services were billed. See SAC ,r,r 129-132.
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U) > w                     15              While these allegations come closest to stating a valid FCA claim, the
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                                Complaint contains no factual allegations establishing that such allegedly false
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        "'..,              17   claims were "knowingly" made within the meaning of the FCA. While CEES's
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                           18   intent may be generally pleaded under Rule 9(b), Relators must still allege
                           19   "sufficient facts to support an inference or render plausible" that CEES submitted
                           20   claims that it knew were non-reimbursable and not simply the result of mere
                           21   negligence or innocent billing error. U.S. ex rel. Lee v. Corinthian Colleges, 655
                           22   F.3d 984, 996-997 (9th Cir. 2011).        Here, the Complaint contains no factual
                           23
                                allegations establishing that CEES had any knowledge or should have known that
                           24   Dr. Lee did not participate as an assistant in the billed surgeries. Absent any such
                           25
                                allegations, Relators' FCA claim against CEES based on the billing of Dr. Lee's
                           26   services fails to satisfy Rule 9(b).
                           27
                           28
                                320381.1                                   26
                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                             1                     9.     The Complaint Fails to State a Federal FCA Claim Based
                             2                            on Submission of Incomplete Data to the Medicare
                                                          Physician Quality Reporting System
                             3
                                             According to the Complaint, Defendants RIC and the RIC Partners also
                             4
                                 allegedly violated the FCA by retaining a supposed overpayment of $60,000 from
                             5
                                 CMS that was based on 4 months of supposedly incomplete data submitted by RIC
                             6
                                 to the Medicare PQRS in 2011 when RIC "purported to provide information for the
                             7
                                 entire year," and also allegedly provided PQRS data in 2012 that included
                             8
                                 information "for activities that had not actually occurred." See SAC ,r,r 133-138.
                             9
                                             Relator's allegations are insufficient to establish an FCA claim predicated on
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         w                       PQRS data reporting under Rule l 2(b )( 6) or Rule 9(b). The Complaint fails to
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                 0,              include any factual allegations establishing that the 4 months of data submitted by
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~>a::                            RIC did not satisfy the reporting frequencies required for quality measures during
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                                 the 12-month reporting period allegedly used, or how RIC "purported to provide"
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                                 12 months of data, but only provided four months of data to CMS, and why the
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                                 $60,000 incentive payment received was an overpayment (versus a reduced
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                                 payment) even if only 4 months of data was submitted.
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                                             Nor does the Complaint explain how RIC's submission of incomplete data
                            18
                                 constituted a factually or legally false claim for the incentive payment received.
                            19
                                 Likewise, with respect to 2012 PQRS data, Relators fail to provide any factual
                            20
                                 specifics regarding which data allegedly submitted by RIC was for "activities that
                            21
                                 had not actually occurred." Such vague and conclusory allegations are insufficient
                            22
                                 to state a valid FCA claim.
                            23
                                             B.    THE COMPLAINT FAILS TO STATE A VALID CALIFORNIA
                            24
                                                   FCA CLAIM AGAINST DEFENDANTS
                            25
                                             In addition to alleged violations of federal FCA, the Complaint also alleges
                            26
                                 two theories of liability under the California False Claims Act against various
                            27
                                 defendants.        Once again, however, Relators' allegations fail to state a valid
                            28
                                 320381. I                                     27
                                 DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                          1   California FCA claim against any of the defendants under Rules 12(b)(6) and 9(b ).
                          2                    1.    The Complaint Fails to State A Valid California FCA
                                                     Claim Against Defendants Based on Alleged Violations
                          3
                                                     of the Medi-Cal Discriminatory Billing Rule
                          4              According to the Complaint, defendants RIC, SG-ASC, and CEES violated
                          5   the California False Claims Act ("CA-FCA") by submitting Medi-Cal claims that
                          6   violated Medi-Cal's discriminatory billing rule because defendants charged fees
                          7   for cash-paying patients without insurance that were lower than the Medi-Cal
                          8   reimbursement rates for those services. See SAC ilil 139-145.
                          9              Under the Medi-Cal program, Title 22, California Code of Regulations
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      GI                      ("C.C.R."), § 51450(a) provides that "[n]o provider shall bill or submit a claim for
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              C>              reimbursement for the rendering of health care services to a Medi-Cal beneficiary
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                         12   in any amount greater or higher than the usual fee charged by the provider to the
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                              general public for the same service." 22 C.C.R. § 51480(a). However, California
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                         14   Business & Professions Code § 657 expressly provides that California physicians
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                         15   may "grant discounts for health or medical care provided to any patient the health
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                              care provider has reasonable cause to believe is not eligible for, or is not entitled
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      "'..,              17   to, insurance reimbursement, coverage under the Medi-Cal program, or coverage
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                         18   by a health care service plan for the health or medical care provided" and that such
                         19   discounted fees "shall not be deemed to be the health care provider's usual,
                         20
                              customary, or reasonable fee for any other purposes, including, but not limited. to,
                         21
                              any health care service plan contract or insurance contract." Cal. Bus. & Prof.
                         22   Code§ 657(c).
                         23
                                         In this case, Relators' CA-FCA claims for Medi-Cal discriminatory billing
                         24   fail as a matter of law because defendants are expressly authorized to charge
                         25
                              discounted fees (which may not be considered their usual fees) for uninsured
                         26 · patients who are not eligible for Medi-Cal and Relators allege no facts establishing
                         27   that defendants' lower fees for "patients without any insurance, [or] who paid for
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                              320381.l                                   28
                              DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   medical services in cash" were not so authorized.         See SAC ,I 141.     Further,
                            2   Relators' theory of liability assumes that that RIC's lower fee for uninsured cash
                            3   paying patients is "the usual fee charged by the provider to the general public for
                            4   the same service" without any factual allegations explaining why this counter-
                            5   intuitive proposition is correct. Instead, the Complaint indicates that RIC treats a
                            6   wide range of patients - including those covered by the Medi-Cal and Medicare
                            7   programs and by private insurance plans with contractually negotiated rates, as
                            8   well as uninsured self-paying and non-paying patients - and Relators have alleged
                            9   no factual basis for simply concluding that RIC's lower fee for uninsured cash-
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                           10   paying patients is the usual fee charged to the general public.          Accordingly,
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                           11   Relators'   CA-FCA claim based on alleged violations of the Medi-Cal
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             . "'
                           12   discriminatory rule must be dismissed pursuant to Rules l 2{b )(6) and 9(b). 19
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                           13                 2.    The Complaint Fails to State a California FCA Claim
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                <                                   Based on Violations of Business & Professions Code §
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                           15          Relators also allege that the RIC, the RIC Partners, CEES and SG-
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                                ASC violated the CA-FCA by submitting Medi-Cal claims when they
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         C')               17   supposedly failed to disclose the RIC Partners' investment interest in SG-
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                           18   ASC in violation of California Business & Professions Code § 654.2. SAC .
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                                ,I,I 152-161.20
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                           21   19
                                  Relators also allege that RIC's usual charge for CPT code 67028 was $370.00,
                           22   just over Medi-Cal's $364.11 reimbursement rate, even though RIC typically
                                calculated its usual charge at 200% of the Medicare reimbursement rate, which
                           23
                                would have been $250 for this code. SAC ,I 142. Even if true, the Complaint
                           24   contains no allegations establishing that this RIC usual charge for this CPT code
                                violates the Medi-Cal discriminatory billing rule when it is higher the Medi-Cal
                           25
                                reimbursement rate or identifying any law or rule requiring RIC to calculate its
                           26   usual charge in a particular manner for this or any other code.
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                           27       Section 654.2 provides that is unlawful for a physician "to charge, bill, or
                                otherwise solicit payment from a patient on behalf of, or refer a patient to, an
                           28
                                organization in which the licensee, or the licensee's immediate family, has a
                                320381.1                                   29
                                DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                          1              Relators' allegations fail to state a valid CA-FCA claim based on
                          2   alleged violations of Section 6542 because the statute expressly provides
                          3   that a violation cannot serve as "the sole basis" for the ~enial of a claim by a
                          4   health care service plan, which would include the Medi-Cal program, and
                          5   such violations are therefore not material to Medi-Cal's payment of claims
                          6   as a matter of law. See Cal. Bus. & Prof. Code § 654.2. In addition, as
                          7   previously discussed, the Complaint also violates Rule 9(b) by not including
                          8   any factual allegations establishing the nature of the RIC Partners'
                          9   "significant beneficial interest" in the SG-ASC center or that the brochure
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                         10   advising patients to call the center to obtain ownership information did not
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                         11   serve to fully disclose such interest.
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                         12              C.   RELATOR'S COMPLAINT FAILS TO STATE A CA-IFPA
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       > a:                                   CLAIM BASED ON WAIVER OF CO-PAYS AND DEDUCTIBLES
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                                         The Complaint also alleges that RIC, the RIC Partners, CEES and SG-ASC
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                              submitted false and fraudulent claims for patients covered by commercial health
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                              plans (e.g., Empire BlueCross/ Blue Shield, Cigna and United Healthcare) in
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               ....           violation of California Penal Code § 550 because defendants routinely waived the
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                              deductible and co-payments amounts that they were obligated to charge patients
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                              pursuant to the terms of their provider agreements and failed to disclose their usual
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                         21   significant beneficial interest, unless the licensee first discloses in writing to the
                         22   patient, that there is such an interest and advises the patient that the patient may
                              choose any organization for the purpose of obtaining the services ordered or
                         23   requested by the licensee." Cal. Bus. & Prof. Code§ 654.2. The statute provides
                         24   that disclosure may be provided by "a conspicuous sign in an area which is likely
                              to be seen by all patients who use the facility or by providing those patients with a
                         25   written disclosure statement." Id. In addition, the statute expressly provides that
                         26   "[n]othing in this section shall be construed to serve as the sole basis for the denial
                              or delay of payment of claims by third party payers," including "any health care
                         27   service plan." Id.
                         28
                              320381.1                                   30
                              DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
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                            1   charges to these commercial health plans because they charged lower prices to
                            2   uninsured patients who paid in cash. According to Relators, the State of California
                            3   is therefore entitled to civil penalties plus treble damages for each fraudulent claim
                                under Insurance Code § 18 71. 7. SAC ,r,r 146-151.
                                                                                     21
                            4
                            5          In this case, Relators' fraud allegations are woefully deficient under Rule
                            6   9(b ). The Complaint alleges no facts establishing the specific provisions of RIC' s
                            7   alleged provider contracts with any commercial plans regarding co-payments and
                            8   deductibles, and only lists four examples of plans that supposedly required
                            9   payment of obligations as a condition of claim payment. Nor do Relators allege
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                           10   any facts establishing that RIC was not permitted to waive such commercial plan
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        .,..    Cl)        11   deductibles and co-payments for financial hardship or other circumstances.
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                           12          In addition, as previously discussed, RIC did not mispresent their charges to
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        w 0                13   any commercial plan because California law provides that discounts may be
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                           14   provided to uninsured patients and shall not be considered the provider's usual
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Cl)                        15   charge. Cal. Bus. & Prof. Code § 657(c ). Most critically, the Complaint does not
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        fl)                16   identify a single RIC claim to a commercial plan (whether by date, patient, service,
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        .,,                17   amount or plan) where the patient's deductible or co-payment amount was
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                           18   improperly waived. Accordingly, under Rules 12(b)(6) and 9(b), Relator's CIFPA
                           19   claim must also be dismissed for failure to state a claim or to allege fraud with
                           20   particularity.
                           21
                           22
                           23   21
                                    Under CIFPA, Section 1871.7 of the Insurance Code authorizes Relators to bring
                           24   a qui tam action on behalf of the State of California to recover civil penalties (
                                $5,000 to $10,000) and an assessment ofno more than three times the claimed
                           25
                                compensation against anyone who knowingly submits a false or fraudulent claim
                           26   for a health care benefit to an insurance company or knowingly makes a false or
                                misleading statement in support of such a claim in violation of Penal Code § 550.
                           27
                                Cal. Insurance Code § 1871. 7; se..e State ex rel. Wilson v. Superior Court, 227
                           28   Cal.App.4th 579 (2014).
                                320381.l                                    31
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                      1              D.    THE COMPLAINT MUST BE DISMISSED BECAUSE IT
                      2                    CHARGES ALL DEFENDANTS IN EACH CAUSE OF ACTION

                      3
                                     The Complaint must also be dismissed because its five causes of action

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                          impermissibly charge all defendants with violations of the FCA, CA-FCA and CA-

                      5   IFPA without distinguishing between the eight theories of FCA liability and two

                      6   theories of CA-FCA liability alleged or the alleged involvement or lack of

                      7
                          involvement of each defendant in each different category of false claims. 22

                      8              Such indiscriminate grouping of defendants in a fraud case is impermissible

                      9   and independently run afoul of Rule 9(b). See Lubin v. Sybedon Corp., 688 F.

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                          Supp. 1425, 1443 (S.D. Cal. 1988). Instead, where multiple defendants sued under
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                          the FCA, the complaint must separately identify the fraudul~nt conduct of each
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                     12   defendant. See Corinthian Colleges, 665 F. 3d at 997-98; Ebeid, 630 F. 3d at 999;
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                          Swartz, 476 F. 3d at 764-65; Grubbs, 565 F. 3d at 190; Remmes v. lnternat'l
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                     14   Flavors & Fragrances, Inc., 389 F. Supp. 2d 1080, 1088 (N.D. Iowa 2005). Here,
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                     15   the defendants are left to puzzle through the Complaint's factual allegations in
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                     16   order to try to figure out which of those allegations tie to their individual
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                     17   involvement in one or more of the five counts charged.             Such a "shotgun"
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                          complaint is impermissible under Rule 9(b). Magluta v. Samples, 256 F.3d 1282,
                     18
                     19   1284 (11th Cir. 2001).

                     20   V.         CONCLUSION

                     21              For the foregoing reasons, Relators' Second Amended Complaint should be
                     22   dismissed pursuant to Rules 12(b)(6) and 9(b) for failure to state a claim and to
                     23
                     24
                          22
                            By way examples, (1) defendant Braun is charged in all five counts even though
                     25
                          the factual allegations indicate that he was only supposedly involved in RIC's
                     26   waiver of co-payments and deductibles and marketing activities, and (2)
                          defendants SG-ASC and CEES are charged in the CA-IFPA count without any
                     27
                          allegations that they had provider agreements with or submitted any claims to
                     28   commercial plans.
                          320381.1                                    32
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                        1   allege fraud with particularity.
                        2   DATED: February 14, 2017
                                                               Respectfully submitted,
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                        4                                      NELSON HARDIMAN LLP
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                                                               ISi   M.S. ti.CLY~
                        7                                      MARKS. HARDIMAN
                        8                                      Attorneys for Defendants
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                            DEFENDANTS' CONSOLIDATED MOTION TO DISMISS RELATORS' SECOND AMENDED COMPLAINT
